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 1 SCOTT N. CAMERON (SBN 226605)
   Attorney at Law
 2 1007 7th Street, Suite 319
   Sacramento, CA 95814
 3 Ph. 916-769-8842

 4
   Attorney for:
 5 MICHAEL HUDDLESTON

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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 12-CR-00313 TLN
12                                Plaintiff,              STIPULATION AND ORDER
                                                          TERMINATING SUPERVISION BY
13   v.                                                   PRETRIAL SERVICES AND
                                                          MODIFYING SPECIAL
14   MICHAEL HUDDLESTON, et. al.,                         CONDITIONS OF RELEASE
15                                Defendants,
16

17                                              STIPULATION
18          Plaintiff, United States of America, by and through its counsel of record, and defendant,
19
     MICHAEL HUDDLESTON, by and through his counsel of record, hereby stipulate that supervision
20
     by the United States Pretrial Services Department may be terminated. Furthermore, the parties
21
     stipulate that the following special conditions of release, as set forth in ECF Doc. No. 19, may be
22

23 deleted (the item numbers correspond to the item number of the condition):

24          1.      You shall report to and comply with the rules and regulations of the Pretrial Services

25 Agency.
26          3.      You are to reside at a location approved by the pretrial services officer and not move
27
     or absent yourself from this residence for more than 24 hours without the prior approval of the
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                                                      1
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     pretrial services officer.
 1
              5.       Your travel is restricted to the Eastern District of California without the prior consent
 2

 3 of the pretrial services officer.

 4            11.      You shall report any contact with law enforcement to your pretrial services officer
 5 within 24 hours.

 6
              All other special conditions of release stated in ECF Doc. No. 19 shall remain in effect.
 7
     Moreover, the parties stipulate that if Mr. Huddleston has any law enforcement contact, he is to
 8
     report that contact to his attorney who will then, pursuant to this stipulation, report the law
 9

10 enforcement contact to the government.

11            The United States Pretrial Services Department has been consulted about this request and has

12 no objection.

13            Counsel for the government has reviewed this stipulation and proposed order and has
14
     authorized counsel for MICHAEL HUDDLESTON to sign and file it on his behalf.
15
     IT IS SO STIPULATED.
16
     DATED:            May 27, 2014           /s/Jared Dolan
17                                            Jared Dolan
                                              Assistant United States Attorney
18
     DATED:            May 27, 2014           /s/Scott Cameron
19                                            Scott Cameron
                                              Attorney for Michael Huddleston
20

21                                                   ORDER
22            IT IS SO ORDERED.
23 Dated: May 28, 2014

24

25   Dad1.crim
     Huddleston0313.stipo.term.pts.sup.docx
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